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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

                   Plaintiff,
                                           Case No. 14-CR-20273
 v.                                        HON. GEORGE CARAM STEEH

 D-1 JOHN TROTTER, II, M.D.,
 D-3 ELAINE LOVETT

               Defendant.
 _____________________________/

       OPINION AND ORDER REGARDING THE GOVERNMENT’S
      NOTICES OF INTENT TO OFFER 404(b) EVIDENCE (DOC. 103).

       Defendants John Trotter, II, M.D., and Elaine Lovett are charged with

 health care fraud conspiracy and three counts of health care fraud. This

 matter is before the Court on the Government’s notice of intent to offer Rule

 404(b) evidence at trial against Elaine Lovett. (Doc. 103). Lovett

 responded to this notice, to which the Government replied. The Court

 heard arguments on January 9, 2017. For the reasons stated below, the

 Court will permit this evidence.

                                I. Background

       Count One of the superseding indictment charges Lovett and Trotter

 with conspiring with each other, Michelle Freeman, and Andrew Hardy, Jr.,
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 M.D., to knowingly and willfully execute a scheme to defraud Medicare and

 to obtain money by making materially false and fraudulent representations

 to Medicare while knowing them to be false. The conspiracy is alleged to

 have occurred from May 2008 to May 2014. The indictment specifies that

 the defendants conspired to unlawfully enrich themselves by submitting

 false claims to Medicare for physician visits that were not medically

 necessary, not provided, and/or not eligible for reimbursement; concealing

 the submission of false and fraudulent claims; and diverting proceeds of

 this fraud for their personal use and benefit. (Doc. 90 at ¶ 38).

       To achieve this end, the defendants and Freeman allegedly used

 and/or purchased existing Medicare providers numbers, submitted false

 claims using provider numbers without the permission of those providers,

 submitted false statements for services not provided as billed, submitted

 claims for services provided by an unlicensed doctor, and submitted false

 enrollment materials that did not disclose Trotter’s ownership interest.

       Counts Two, Three, and Four allege that Trotter, Lovett, and

 Freeman executed a scheme to defraud Medicare by submitting false

 claims for services that were not rendered and were not medically

 necessary.




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       The government alleges the following facts regarding the proposed

 other act evidence. Lovett was involved in a false billing scheme with Beth

 Jenkins, the owner of an adult day care center. Jenkins purchased

 Medicare beneficiary information from Glenn English and agreed to use

 Abix, LLC to process reimbursement claims. Abix was co-owned and

 controlled by Lovett and Freeman. Lovett instructed Jenkins to code

 Medicare claims in ways that resulted in larger payments, regardless of

 whether the claims were truthful or accurate. Knowing certain claims to be

 false and fraudulent, Lovett billed Medicare and retained a percentage of

 the reimbursements.

       Lovett also allegedly submitted Jenkin’s claims to Medicare with the

 knowledge that Jenkins had failed to disclose her ownership of the adult

 day care center purportedly providing the claimed services. After Medicare

 determined that it had overpaid Quality Recreation and Rehab (QRR), Abix

 advised Jenkins to change WRR’s name and to use a straw owner.

 Jenkins followed this advice, renaming QRR to Procare Rehabilitation

 (Procare) and falsely identifying her mother as the owner. Following the

 execution of a search warrant at Procare and on Abix’s request, Jenkins

 opened another adult day care center, 2nd to None, and falsely listed her

 daughter as the owner. Lovett knew that Jenkins had fraudulently

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 concealed her ownership of Procare and 2nd to None. Lovett nonetheless

 submitted claims to Medicare for services purportedly provided at these

 adult day care centers.

                              II. Legal Standard

       Evidence is relevant “if it has any tendency to make a fact more or

 less probable than it would be without the evidence; and the fact is of

 consequence in determining the action.” Fed. R. Evid. 401. Even if

 evidence is relevant, it may be inadmissible under another Federal Rule of

 Evidence. Fed. R. Evid. 402.

       “Evidence of a crime, wrong, or other act” is prohibited at trial when

 used “to prove a person’s character in order to show that on a particular

 occasion the person acted in accordance with the character.” Fed. R. Evid.

 404(b)(1). But such “evidence may be admissible for another purpose,

 such as proving motive, opportunity, intent, preparation, plan, knowledge,

 identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b)(2).

       The Court “must apply a three-step analysis to evaluate the

 admissibility of evidence under Rule 404(b).” United States v. Hardy, 228

 F.3d 745, 750 (6th Cir. 2000). First, the party seeking to admit 404(b)

 evidence must demonstrate that the other bad acts occurred. Id. (citing

 United States v. Johnson, 27 F.3d 1186, 1190 (6th Cir. 1994)). Second,

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 the offering party must cite a specific purpose for which the evidence is

 offered. Id. “[T]he government’s purpose in introducing the evidence must

 be to prove a fact that the defendant has placed, or conceivably will place,

 in issue, or a fact that the statutory elements obligate the government to

 prove.” United States v. Bell, 516 F.3d 432, 442 (6th Cir. 2008).

 Essentially, the offering party “must show the evidence is probative of a

 material issue other than character.” Hardy, 228 F.3d at 750. Finally, the

 Court must find that the evidence’s probative value is not substantially

 outweighed by the damage of unfair prejudice. Id.; see also Fed. R. Evid.

 403.

                                  III. Analysis

 A. Relevance

        Lovett argues that this other act evidence is irrelevant because it

 involves different actors and occurred at a different time. Lovett also

 objects to the Government’s assertion that Abix advised Jenkins to create a

 new company and use a straw owner. Lovett responds that Freeman

 provided this advice, not Lovett, and therefore it is not relevant to the

 current charges. This argument fails.

        Even with additional actors and a different time period, this evidence

 has a tendency to make a fact of consequence – whether Lovett conspired

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 to commit and did in fact commit health care fraud – more probable. This is

 true even if Lovett did not advise Jenkins to create new companies and use

 straw owners. As Freeman’s partner in owning and controlling Abix, Lovett

 may have known about the advice and known that it was made to continue

 the scheme of defrauding Medicare through false billing. If the Government

 establishes that Lovett knew about this advice and why it was provided, this

 evidence would make a fact of consequence more probable. Therefore,

 the Court finds that this evidence is relevant, with the caveat that the

 relevancy of Jenkin’s testimony regarding Freeman’s advice to create new

 companies and use straw owners is subject to the Government’s

 subsequent proof under Fed. R. Evid. 104(b).

 B. 404(b)

    1. Proof That The Other Act Occurred

    The Government intends to establish Lovett’s prior alleged scheme by

 offering the testimony of Jenkins. Jenkins is expected to testify that Lovett

 billed Medicare for services Jenkins did not provide and for companies that

 Abix had credentialed in the names of straw owners in order to conceal the

 true source of the claims. The parties do not seriously dispute whether this

 evidence will be sufficient to establish the alleged scheme between Lovett




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 and Jenkins. Furthermore, the Court finds that the Government’s cited

 evidence would likely be sufficient to prove this scheme.

    2. Offered for Proper Purpose

    Other acts evidence is only admissible if it is offered to prove something

 other than character. Fed. R. Evid. 404(b). The Government argues that

 the evidence of Lovett’s alleged scheme with Jenkins should be admitted to

 prove intent and, if necessary as a defense, knowledge.

    “To determine if evidence of other acts is probative of intent, we look to

 whether the evidence relates to conduct that is ‘substantially similar and

 reasonably near in time’ to the specific intent offense at issue.” United

 States v. Hardy, 643 F.3d 143, 151 (6th Cir. 2011) (quotations and citations

 omitted). “[T]he prior acts need not duplicate exactly the instant charge,

 but need only be sufficiently analogous to support an inference of criminal

 intent.” United States v. Benton, 852 F.2d 1456, 1468 (6th Cir. 1988)

 (citing United States v. Burkett, 821 F.2d 1306, 1309 (8th Cir. 1987)).

    Lovett’s alleged scheme with Jenkins is substantially similar to all four

 counts in the indictment. In the other act at issue, Lovett allegedly billed

 Medicare for services that Jenkins did not provide and for companies

 credentialed in the name of a straw owner. In the indictment, Lovett is

 charged with conspiring and executing a scheme to defraud Medicare by

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 submitting false claims for services that were not rendered, and were

 medically unnecessary, while knowing them to be false. Both acts involve

 Lovett knowingly submitting false claims through companies designed to

 conceal ownership and management interests.

    Lovett’s scheme with Jenkins is also reasonably near in time to the

 specific intent conspiracy offense in this case. Jenkins has previously

 testified that her scheme began in January 2008. The charged crimes

 allegedly began around March 30, 2009, when Medicare placed three of

 Trotter’s companies on prepayment review. When evaluating the temporal

 proximity between intent to distribute drug charges and other acts with the

 same intent, the Sixth Circuit found that an eight year gap was not too

 remote and noted, with approval, that “other courts have found no error in

 the admission of prior bad acts ranging from eight years old to eighteen

 years old.” United States v. Love, 254 F. App'x 511, 517 (6th Cir. 2007).

 Therefore, Lovett and Jenkins scheme, taking place fifteen months before

 the current charges, is not too remote.

    This evidence is also probative of Lovett’s knowledge. Lovett may argue

 that she relied on others to ensure the integrity of the claims and therefore

 did not know that they were fraudulent. Jenkins’ proposed testimony rebuts

 this argument, asserting that Lovett knew whether the services were

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 actually provided and billed claims for unprovided services. Lovett may

 also argue that she had no knowledge of her co-defendant’s straw

 ownerships. If a provider is flagged for review, they can continue to submit

 claims under another company, so long as they list a straw owner on the

 Medicare enrollment forms. Jenkins testimony reveals that Lovett billed

 Medicare claims for Procare and 2nd to None despite knowledge of

 Freeman’s advice and why straw owners were used. This evidence speaks

 to Lovett’s knowledge of fraudulent billing and failure to disclose Trotter’s

 ownership interests.

    3. 403 Balancing

       The evidence of Lovett’s involvement in a scheme with Jenkins is

 more probative than prejudicial. Whether Lovett “defrauded Medicare

 innocently or intentionally [is] a central issue” of this case. United States v.

 English, 785 F.3d 1052, 1056 (6th Cir. 2015). Thus, evidence that sheds

 light on her true intentions is highly probative. Id. Further, potential

 prejudice may be mitigated by giving the jury a detailed limiting instruction.

 Id.; see also Hardy, 643 F.3d at 153.

                                 IV. Conclusion

       For the reasons stated above, the Court will permit the 404(b)

 evidence relating to Lovett.

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       IT IS SO ORDERED.

  Dated: January 19, 2017

                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                    January 19, 2017, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




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